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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION

                     Civil Action No. 6:21-cv-00023-RBD-DCI

 CONNIE A. BAILEY,

       Plaintiff,

 v.

 MRS BPO, LLC,

       Defendant.
                                             /


              STIPULATION OF DISMISSAL WITH PREJUDICE

      IT IS HEREBY STIPULATED AND AGREED by and between the Plaintiff,

CONNIE A. BAILEY, and the Defendant, MRS BPO, LLC, through their respective

counsel that the above-captioned action is dismissed, with prejudice, pursuant to

Federal Rule of Civil Procedure 41. Each party shall bear its own costs and attorney fees

associated with this action.


Dated: February 4, 2022                  Respectfully Submitted,

 CONNIE A. BAILEY                            MRS BPO, LLC

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                           CERTIFICATE OF SERVICE

       I hereby certify that on February 4, 2022, I electronically filed the foregoing
with the Clerk of the Court for the Middle District of Florida by using the CM/ECF
system.



                                                     /s/ Alejandro E. Figueroa
